RECEIVED

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

 

FOX ji.
WF vr
UNITED STATES DISTRICT COURT MAY 18 2093
for the
CLERK

District of Mi t
istrict of Minnesota U.S. DISTRICT COURT

MINNEAPOLIS MINNIESOTA

7
Crepe Able JY ee

 

_o _ )
Plaintiff ) - 7
“72 y 3S. NI 2k SE
Mur Atle KHES Searify Lape te SSA wed. fovd) Civil Action No, 2°2 3-00-00 SWB
f YT )
_ Ath beth Drbeputa
Defendant )

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:

 

 

Bonus LO. Sib), Mrariciprd Lif Alt Lit LEE,

(Name of person to whom this subpoena is directed)

$Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: 4/ Arheess wtp Pith ZTpdlipeies fe wilide bith Ser tihétt for C23, Pk
4! aienimrare 4 Ye) ite) fe Cetttr ites pith Poth Trolvspere 3 pelidig Bath Jeph vt
S77 LP) a; Lk

 

Place: 73 4 gefuyie# Ao" Pigeiyye/ gis) can) Date and Time: 24 Anty L/P

ar LL92 jp) ep WY Wil Lt4s kale, (PW! 5bhAB Cl 1172 81 FA py?

 

01 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

Place: oo | Date and Time:

 

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

 
  
 

Date: Se [23 , SCA WE
CLERK OF COURT | may 18 2023
Kate Tn. v9 OR y.S. DISTRICT COURT MPLS

 

 

Attorney’s signature

 

The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)
_ Lrg Abs ty AU, WEP ts who issues or requests this subpoena, are:

. , We j a> - ue iy. “7%
fucasry cudgel Cappy) con Lib LithleL Ly Le? Leas Lilly Lil Kb I HOS 243 JIF7
Notice to the person who issues or requests this subpoena

If this subpoena commands the production of documents, electronically stored information, or tangible things or the

inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
RECEIVED

 

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action RY MA A I]
UNITED STATES DISTRICT COURT MAY 18 2023
for the CLERK

U.S. DISTRICT COURT

District of Minnesota
MINNEAPQL IS MINMEanT,

Ls CGtLy.. Libis flyer
Pl ‘ne

Sou bal3i taek $epas if hy Jhnypleoe thehy

And Avtliris ODOT

tb 4th Zidistires
Defendant

Civil Action No. 4: 23-2 "-00 138 - Supt 18

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:

_ hha h kgpen- <Sensirwth, Lys Le eh Lebittoh

(Name of person to whom this subpoena is directed)

be Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the

material: Lue Atel o

 

Place: 72 be Aird 42 epeiy PAYEE | “Date and Time: 7 447 40
ye ftv Y 16 YF V@ Syrabll Jcry br fbedZ Uphhp de Lou Wa G Jb /2e23 3 SCP
iF? Leo 46 ty HE StL 53 |

 

O Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

‘Place: a | Date and Time:

j
|
t
|

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: _ sf) 6/23
CLERK OF COURT

fate Mn. 9

Signature 2 of ( Clerk or sos Clerk |

OR

 
 

Attorney's signature

 

The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)
Legiy bl Lidl t Lon LY , who issues or requests this subpoena, a are:
3 {7 _ a

> oe 2.995%,
fit dety sig er Mogami! pe LibyZ Leihly Lill, Leshibe, be Sib Wy$-S 437
Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
Attachment to Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of

Premises in a Civil Action

You are commanded to produce the following to Gregory Moyer via electronic means and/or

mail:

1.

All communications (including, but not limited to, email, written reports, recordings, and
phone logs) between City of Lahoma Police Department officers/employees with
Garfield County Sheriff's Officer regarding Gregory Moyer.

All communications (including, but not limited to, email, written reports, recordings, and
phone logs) between City of Lahoma Police Department officers/employees with
employees of Koch Industries/Koch Fertilizer regarding Gregory Moyer.

All communications between City of Lahoma Police Department officers and employees
with Shon Jackson and any other security personnel working for Koch Industries/Koch
Fertilizer regarding Gregory Moyer.

All Facebook communications, including Facebook Messenger, between Officer Hankins
and officers from Garfield County Sheriff's Office including, but not limited to, Deputy
Ream and Sheriff Rink from October 2022- April 2023.

All Facebook and Facebook Messenger posts/activity of Officer Hankins from October
2022-April 2023.

All Facebook communication, including Facebook Messenger, from Officer Hankins
to/from Gregory Moyer.

All MAC past and current addresses for City of Lahoma Police Department personnel.
All recordings and written reports of City of Lahoma Police Department regarding
Gregory Moyer
RECEIVED

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action RY MAA ll

UNITED STATES DISTRICT CouRT MAY 18 2023

for the CLERK
District of Minnesota U.S. DI IST cr Woot URT

- ong bls Leg a )

Plain mn

Defendant

 

Civil Action No, #.23-2b -c0/58 > SuB- 4 B

eee a a aS

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

. — AyS LY Biol, Luss Md ¢ Lenk Del BO

(Name of person to w. Kom this subpoena is directed)

Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored,information, or objects, and to permit inspection, copying, testing, or sampling of the

material: Oe Abathy

| Place: 4S bi hte yeh Ae ‘ igs, vy wy C ip J, on | Date and ‘Time: © oo L) oe oe
| ; DEB OS AL LFF,
ar May (2 ayy hiey fu! Yeipe Dn ta pn Jit LA8M afi/uss OA £717)

O Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

Place: Date and Time: | |

|

 

 

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: _s/ Mb [23

CLERK OF COURT

fiate ™. Fog

Signature of Clerk or Deputy Clerk Attorney ’s signature

 

 

 

The name, address, e-mail aul gicress, and telephone number of the attorney representing (name of party) _
CKLGOLY 1 74 aYyely 74 Hs. Se~ ___ , who issues or requests this subpoena, a are:

Betitipudtel © ppt! py LLY » tbe LL Lit: A veld BU) Sb S3 P68 -5V 2 PIF. 7

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
Attachment to Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of

Premises in a Civil Action

You are commanded to produce the following to Gregory Moyer via electronic means and/or

mail:

1. A list of all professional, public, and private organizations in which membership
dues have been paid by the County for Garfield County Sheriff's Office Employees
for the last 10 years, along with the following:

a.
b.
C.

d.

Amount paid to each organization;

Years in which dues have been paid;

Names of employees who hold memberships in each organization and
length of membership; and

Names of employees who have held office in any of the organizations and
the title and year(s) in which the employee held an office.

2. A list of all persons, organizations, businesses, and other entities that have
provided donations to the Garfield County Sheriffs Office in the last 10 years,
along with the following:

a.

b.
C.

Amount donated and if not monetary, what services or property were
donated and the value of such donation;

The year of the donation; and

Who specifically made the donation and contact information for the donor.

3. The following information regarding CJ-22-0742, a closed report:

a.

Records of Sheriff Rink’s communications from public computers, phones
or fax to and from Koch Industries and Shon Jackson along with the
corresponding metadata;

Records of video and photos mentioned in the report along with the
corresponding metadata;

All vehicle information, reports and records for the white Hyundai
documented in the report as having the plate TWSTER, reported to have
been on the property of Koch Fertilizer.

All information gathered after the initial report was written in response to
Moyer’s request for follow-up and further investigation.

Type of ID and copies of the ID and photos that were used to identify
Gregory Moyer by Koch Industries, law enforcement or others;

All documentation, statements and evidence received from Koch Industries
and any Koch employees along with all metadata;

All investigative notes

All dates and times Garfield County attempted to make contact with
Gregory Moyer as well as the means of contact and by whom;

All documentation received or collected from all law enforcement agencies
investigating; and

Names and contact information for every person to whom the
aforementioned information and case file was shared with, including but
not limited to prosecutors, Koch Industries, private citizens, attorneys, law
enforcement, etc.

4. Phone calls, texts and emails to/from anyone regarding Gregory Moyer and/or
9.

10.
11.

12.

13.

14.

Koch Industries for 2022-2023 along with the corresponding metadata;

Phone numbers of any Garfield County employees working on the aforementioned
case and any follow-up;

Names and addresses of any persons speaking with Koch Industries on behalf of
Garfield County or Lahoma Police, including but not limited to Deputy Ream and
Deputy Peterson;

Names and addresses of all Koch employees Garfield County employees spoke to
regarding the aforementioned case and/or Gregory Moyer, including but not
limited to Shon Jackson and Todd Daley. Also include all documents, recordings,
emails and any other correspondence between Garfield County and Koch Industries
employees;

List of all surveillance conducted of Gregory Moyer by Garfield County employees
or others with dates, times, how conducted (i.e. social media, email, tracking, apps,
cell phone, near and remote communication, physical, etc.) and names of persons
who conducted the surveillance.

All video and audio pertaining to Gregory Moyer and Koch Industries;

Copy of the ethics policy of Garfield County Sheriff's Office, 2022 version;

Copy of conflicts of interest policy of Garfield County Sheriff's Office, 2022
version; and

Employment agreement 1099 agreement, training records, payments made and
dismissal of employment for Shon Jackson from 2005-2022.

All documents related to any warrants applied for whether approved or denied to
include warrant applications, probable cause statements, actual warrants received,
return receipts, denials of any search warrant applications

If not warrants were applied for, a written statement certifying, under oath, such.
